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                         CASUALTY COMPANY
                       7
                       8                            UNITED STATES DISTRICT COURT
                       9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      10
                      11 ANTONIO GATES, an individual;                      Case No. 2:21-cv-01480 VAP (MAAx)
                         SASHA GATES, an individual,
                      12
                                    Plaintiffs,                             STIPULATED PROTECTIVE
                      13                                                    ORDER
                                vs.
                      14                                                    Judge: Hon. Virginia A. Phillips
                         AIG PROPERTY CASUALTY
                      15 COMPANY; Does 1 through 50                         Trial Date:       None Set
                         inclusive,
                      16
                                    Defendants.
                      17
                      18 1.         PURPOSES AND LIMITATIONS
                      19            Discovery in this action is likely to involve production of confidential,
                      20 proprietary, or private information for which special protection from public
                      21 disclosure and from use for any purpose other than prosecuting this litigation may
                      22 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                      23 enter the following Stipulated Protective Order. The parties acknowledge that this
                      24 Stipulated Protective Order does not confer blanket protections on all disclosures or
                      25 responses to discovery and that the protection it affords from public disclosure and
                      26 use extends only to the limited information or items that are entitled to confidential
                      27 treatment under the applicable legal principles. The parties further acknowledge, as

LEWIS                 28 set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
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                       1 them to file confidential information under seal; Local Rule 79-5 sets forth the
                       2 procedures that must be followed and the standards that will be applied when a party
                       3 seeks permission from the Court to file material under seal. Discovery in this action
                       4 is likely to involve production of confidential, proprietary, or private information for
                       5 which special protection from public disclosure and from use for any purpose other
                       6 than prosecuting this litigation may be warranted.
                       7 2.         GOOD CAUSE STATEMENT
                       8            This action is likely to involve financial, and/or proprietary information for
                       9 which special protection from public disclosure and from use for any purpose other
                      10 than prosecution of this action is warranted. Such confidential and proprietary
                      11 materials and information consist of, among other things, confidential business or
                      12 financial information, information regarding confidential business practices, or other
                      13 commercial information, information otherwise generally unavailable to the public,
                      14 or which may be privileged or otherwise protected from disclosure under state or
                      15 federal statutes, court rules, case decisions, or common law. Accordingly, to
                      16 expedite the flow of information, to facilitate the prompt resolution of disputes over
                      17 confidentiality of discovery materials, to adequately protect information the parties
                      18 are entitled to keep confidential, to ensure that the parties are permitted reasonable
                      19 necessary uses of such material in preparation for and in the conduct of trial, to
                      20 address their handling at the end of the litigation, and to serve the ends of justice, a
                      21 protective order for such information is justified in this matter. It is the intent of the
                      22 parties that information will not be designated as confidential for tactical reasons
                      23 and that nothing be so designated without a good faith belief that it has been
                      24 maintained in a confidential, non-public manner, and there is good cause why it
                      25 should not be part of the public record of this case.
                      26 3.         DEFINITIONS
                      27            3.1.      Action: This pending federal lawsuit.

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                       1            3.2.      Challenging Party: A Party or Nonparty that challenges the designation
                       2 of information or items under this Stipulated Protective Order.
                       3            3.3.      “CONFIDENTIAL” Information or Items: Information (regardless of
                       4 how it is generated, stored or maintained) or tangible things that qualify for
                       5 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                       6 the Good Cause Statement.
                       7            3.4.      Counsel: Outside Counsel of Record and In-House Counsel (as well as
                       8 their support staff).
                       9            3.5.      Designating Party: A Party or Nonparty that designates information or
                      10 items that it produces in disclosures or in responses to discovery as
                      11 “CONFIDENTIAL.”
                      12            3.6.      Disclosure or Discovery Material: All items or information, regardless
                      13 of the medium or manner in which it is generated, stored, or maintained (including,
                      14 among other things, testimony, transcripts, and tangible things), that is produced or
                      15 generated in disclosures or responses to discovery in this matter.
                      16            3.7.      Expert: A person with specialized knowledge or experience in a matter
                      17 pertinent to the litigation who has been retained by a Party or its counsel to serve as
                      18 an expert witness or as a consultant in this Action.
                      19            3.8.      In-House Counsel: Attorneys who are employees of a party to this
                      20 Action. In-House Counsel does not include Outside Counsel of Record or any other
                      21 outside counsel.
                      22            3.9.      Nonparty: Any natural person, partnership, corporation, association, or
                      23 other legal entity not named as a Party to this action.
                      24            3.10. Outside Counsel of Record: Attorneys who are not employees of a
                      25 party to this Action but are retained to represent or advise a party to this Action and
                      26 have appeared in this Action on behalf of that party or are affiliated with a law firm
                      27 which has appeared on behalf of that party, and includes support staff.

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                       1            3.11. Party: Any party to this Action, including all of its officers, directors,
                       2 employees, consultants, retained experts, In-House Counsel, and Outside Counsel of
                       3 Record (and their support staffs).
                       4            3.12. Producing Party: A Party or Nonparty that produces Disclosure or
                       5 Discovery Material in this Action.
                       6            3.13. Professional Vendors: Persons or entities that provide litigation
                       7 support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                       8 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                       9 and their employees and subcontractors.
                      10            3.14. Protected Material: Any Disclosure or Discovery Material that is
                      11 designated as “CONFIDENTIAL.”
                      12            3.15. Receiving Party: A Party that receives Disclosure or Discovery
                      13 Material from a Producing Party.
                      14 4.         SCOPE
                      15            The protections conferred by this Stipulated Protective Order cover not only
                      16 Protected Material, but also (1) any information copied or extracted from Protected
                      17 Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                      18 and (3) any testimony, conversations, or presentations by Parties or their Counsel
                      19 that might reveal Protected Material.
                      20            Any use of Protected Material at trial shall be governed by the orders of the
                      21 trial judge. This Stipulated Protective Order does not govern the use of Protected
                      22 Material at trial.
                      23 5.         DURATION
                      24            Even after final disposition of this litigation, the confidentiality obligations
                      25 imposed by this Stipulated Protective Order shall remain in effect until a
                      26 Designating Party agrees otherwise in writing or a court order otherwise directs.
                      27 Final disposition shall be deemed to be the later of (1) dismissal of all claims and

LEWIS                 28 defenses in this Action, with or without prejudice; and (2) final judgment herein
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                       1 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
                       2 reviews of this Action, including the time limits for filing any motions or
                       3 applications for extension of time pursuant to applicable law.
                       4 6.         DESIGNATING PROTECTED MATERIAL
                       5            6.1.      Exercise of Restraint and Care in Designating Material for Protection.
                       6            Each Party or Nonparty that designates information or items for protection
                       7 under this Stipulated Protective Order must take care to limit any such designation
                       8 to specific material that qualifies under the appropriate standards. The Designating
                       9 Party must designate for protection only those parts of material, documents, items,
                      10 or oral or written communications that qualify so that other portions of the material,
                      11 documents, items, or communications for which protection is not warranted are not
                      12 swept unjustifiably within the ambit of this Stipulated Protective Order.
                      13            Mass, indiscriminate, or routinized designations are prohibited. Designations
                      14 that are shown to be clearly unjustified or that have been made for an improper
                      15 purpose (e.g., to unnecessarily encumber the case development process or to impose
                      16 unnecessary expenses and burdens on other parties) may expose the Designating
                      17 Party to sanctions.
                      18            6.2       Manner and Timing of Designations.
                      19            Except as otherwise provided in this Stipulated Protective Order (see, e.g.,
                      20 Section 6.2(a)), or as otherwise stipulated or ordered, Disclosure or Discovery
                      21 Material that qualifies for protection under this Stipulated Protective Order must be
                      22 clearly so designated before the material is disclosed or produced.
                      23            Designation in conformity with this Stipulated Protective Order requires the
                      24 following:
                      25            (a)       For information in documentary form (e.g., paper or electronic
                      26                      documents, but excluding transcripts of depositions or other pretrial or
                      27                      trial proceedings), that the Producing Party affix at a minimum, the

LEWIS                 28                      legend “CONFIDENTIAL” to each page that contains protected
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                       1                      material. If only a portion or portions of the material on a page
                       2                      qualifies for protection, the Producing Party also must clearly identify
                       3                      the protected portion(s) (e.g., by making appropriate markings in the
                       4                      margins).
                       5                      A Party or Nonparty that makes original documents available for
                       6                      inspection need not designate them for protection until after the
                       7                      inspecting Party has indicated which documents it would like copied
                       8                      and produced. During the inspection and before the designation, all of
                       9                      the material made available for inspection shall be deemed
                      10                      “CONFIDENTIAL.” After the inspecting Party has identified the
                      11                      documents it wants copied and produced, the Producing Party must
                      12                      determine which documents, or portions thereof, qualify for protection
                      13                      under this Stipulated Protective Order. Then, before producing the
                      14                      specified documents, the Producing Party must affix the legend
                      15                      “CONFIDENTIAL” to each page that contains Protected Material. If
                      16                      only a portion or portions of the material on a page qualifies for
                      17                      protection, the Producing Party also must clearly identify the protected
                      18                      portion(s) (e.g., by making appropriate markings in the margins).
                      19            (b)       For testimony given in depositions, that the Designating Party identify
                      20                      the Disclosure or Discovery Material on the record, before the close of
                      21                      the deposition, all protected testimony.
                      22            (c)       For information produced in nondocumentary form, and for any other
                      23                      tangible items, that the Producing Party affix in a prominent place on
                      24                      the exterior of the container or containers in which the information is
                      25                      stored the legend “CONFIDENTIAL.” If only a portion or portions of
                      26                      the information warrants protection, the Producing Party, to the extent
                      27                      practicable, shall identify the protected portion(s).

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                       1            6.3       Inadvertent Failure to Designate.
                       2            If timely corrected, an inadvertent failure to designate qualified information
                       3 or items does not, standing alone, waive the Designating Party’s right to secure
                       4 protection under this Stipulated Protective Order for such material. Upon timely
                       5 correction of a designation, the Receiving Party must make reasonable efforts to
                       6 assure that the material is treated in accordance with the provisions of this Stipulated
                       7 Protective Order.
                       8            7.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
                       9            7.1.      Timing of Challenges.
                      10            Any Party or Nonparty may challenge a designation of confidentiality at any
                      11 time that is consistent with the Court’s Scheduling Order.
                      12            7.2.      Meet and Confer.
                      13            The Challenging Party shall initiate the dispute resolution process, which
                      14 shall comply with Local Rule 37.1 et seq., and with Section 4 of Judge Audero’s
                      15 Procedures (“Mandatory Telephonic Conference for Discovery Disputes”).1
                      16            7.3.      Burden of Persuasion.
                      17            The burden of persuasion in any such challenge proceeding shall be on the
                      18 Designating Party. Frivolous challenges, and those made for an improper purpose
                      19 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
                      20 expose the Challenging Party to sanctions. Unless the Designating Party has waived
                      21 or withdrawn the confidentiality designation, all parties shall continue to afford the
                      22 material in question the level of protection to which it is entitled under the
                      23 Producing Party’s designation until the Court rules on the challenge.
                      24
                      25
                      26
                      27   1
                          Judge Audero’s Procedures are available at
LEWIS                 28 https://www.cacd.uscourts.gov/honorable-maria-audero.
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                       1            8.        ACCESS TO AND USE OF PROTECTED MATERIALS
                       2            8.1.      Basic Principles.
                       3            A Receiving Party may use Protected Material that is disclosed or produced
                       4 by another Party or by a Nonparty in connection with this Action only for
                       5 prosecuting, defending, or attempting to settle this Action. Such Protected Material
                       6 may be disclosed only to the categories of persons and under the conditions
                       7 described in this Stipulated Protective Order. When the Action reaches a final
                       8 disposition, a Receiving Party must comply with the provisions of Section 14 below.
                       9            Protected Material must be stored and maintained by a Receiving Party at a
                      10 location and in a secure manner that ensures that access is limited to the persons
                      11 authorized under this Stipulated Protective Order.
                      12            8.2       Disclosure of “CONFIDENTIAL” Information or Items.
                      13            Unless otherwise ordered by the Court or permitted in writing by the
                      14 Designating Party, a Receiving Party may disclose any information or item
                      15 designated “CONFIDENTIAL” only to:
                      16            (a)       The Receiving Party’s Outside Counsel of Record, as well as
                      17                      employees of said Outside Counsel of Record to whom it is reasonably
                      18                      necessary to disclose the information for this Action;
                      19            (b)       The officers, directors, and employees (including In-House Counsel) of
                      20                      the Receiving Party to whom disclosure is reasonably necessary for this
                      21                      Action;
                      22            (c)       Experts of the Receiving Party to whom disclosure is reasonably
                      23                      necessary for this Action and who have signed the “Acknowledgment
                      24                      and Agreement to Be Bound” (Exhibit A);
                      25            (d)       The Court and its personnel;
                      26            (e)       Court reporters and their staff;
                      27            (f)       Professional jury or trial consultants, mock jurors, and Professional

LEWIS                 28                      Vendors to whom disclosure is reasonably necessary or this Action and
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                       1                      who have signed the “Acknowledgment and Agreement to be Bound”
                       2                      (Exhibit A);
                       3            (g)       The author or recipient of a document containing the information or a
                       4                      custodian or other person who otherwise possessed or knew the
                       5                      information;
                       6            (h)       During their depositions, witnesses, and attorneys for witnesses, in the
                       7                      Action to whom disclosure is reasonably necessary provided: (i) the
                       8                      deposing party requests that the witness sign the “Acknowledgment and
                       9                      Agreement to Be Bound” (Exhibit A); and (ii) the witness will not be
                      10                      permitted to keep any confidential information unless they sign the
                      11                      “Acknowledgment and Agreement to Be Bound,” unless otherwise
                      12                      agreed by the Designating Party or ordered by the Court. Pages of
                      13                      transcribed deposition testimony or exhibits to depositions that reveal
                      14                      Protected Material may be separately bound by the court reporter and
                      15                      may not be disclosed to anyone except as permitted under this
                      16                      Stipulated Protective Order;
                      17            (i)       Any mediator or settlement officer, and their supporting personnel,
                      18                      mutually agreed upon by any of the parties engaged in settlement
                      19                      discussions; and
                      20            (j)       Persons or entities to whom a Party has contractual, legal, statutory or
                      21                      regulatory obligations to disclose Protected Material, including
                      22                      reinsurers, retrocessionaires, regulators and auditors of the Party
                      23                      receiving Protected Material.
                      24 9.         PROTECTED MATERIAL SUBPOENAED OR ORDERED
                      25            PRODUCED IN OTHER LITIGATION
                      26            If a Party is served with a subpoena or a court order issued in other litigation
                      27 that compels disclosure of any information or items designated in this Action as

LEWIS                 28 “CONFIDENTIAL,” that Party must:
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                    1            (a)       Promptly notify in writing the Designating Party. Such notification
                    2                      shall include a copy of the subpoena or court order;
                    3            (b)       Promptly notify in writing the party who caused the subpoena or order
                    4                      to issue in the other litigation that some or all of the material covered
                    5                      by the subpoena or order is subject to this Stipulated Protective Order.
                    6                      Such notification shall include a copy of this Stipulated Protective
                    7                      Order; and
                    8            (c)       Cooperate with respect to all reasonable procedures sought to be
                    9                      pursued by the Designating Party whose Protected Material may be
                   10                      affected.
                   11            If the Designating Party timely seeks a protective order, the Party served with
                   12 the subpoena or court order shall not produce any information designated in this
                   13 action as “CONFIDENTIAL” before a determination by the Court from which the
                   14 subpoena or order issued, unless the Party has obtained the Designating Party’s
                   15 permission. The Designating Party shall bear the burden and expense of seeking
                   16 protection in that court of its confidential material and nothing in these provisions
                   17 should be construed as authorizing or encouraging a Receiving Party in this Action
                   18 to disobey a lawful directive from another court.
                   19 10.        A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
                   20            PRODUCED IN THIS LITIGATION
                   21            10.1. Application.
                   22            The terms of this Stipulated Protective Order are applicable to information
                   23 produced by a Nonparty in this Action and designated as “CONFIDENTIAL.” Such
                   24 information produced by Nonparties in connection with this litigation is protected
                   25 by the remedies and relief provided by this Stipulated Protective Order. Nothing in
                   26 these provisions should be construed as prohibiting a Nonparty from seeking
                   27 additional protections.

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                    1            10.2 Notification.
                    2            In the event that a Party is required, by a valid discovery request, to produce a
                    3 Nonparty’s confidential information in its possession, and the Party is subject to an
                    4 agreement with the Nonparty not to produce the Nonparty’s confidential
                    5 information, then the Party shall:
                    6            (a)       Promptly notify in writing the Requesting Party and the Nonparty that
                    7                      some or all of the information requested is subject to a confidentiality
                    8                      agreement with a Nonparty;
                    9            (b)       Promptly provide the Nonparty with a copy of the Stipulated Protective
                   10                      Order in this Action, the relevant discovery request(s), and a reasonably
                   11                      specific description of the information requested; and
                   12            (c)       Make the information requested available for inspection by the
                   13                      Nonparty, if requested.
                   14            10.3. Conditions of Production.
                   15            If the Nonparty fails to seek a protective order from this Court within fourteen
                   16 (14) days after receiving the notice and accompanying information, the Receiving
                   17 Party may produce the Nonparty’s confidential information responsive to the
                   18 discovery request. If the Nonparty timely seeks a protective order, the Receiving
                   19 Party shall not produce any information in its possession or control that is subject to
                   20 the confidentiality agreement with the Nonparty before a determination by the
                   21 Court. Absent a court order to the contrary, the Nonparty shall bear the burden and
                   22 expense of seeking protection in this Court of its Protected Material.
                   23 11.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                   24            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                   25 Protected Material to any person or in any circumstance not authorized under this
                   26 Stipulated Protective Order, the Receiving Party immediately must (1) notify in
                   27 writing the Designating Party of the unauthorized disclosures, (2) use its best efforts

LEWIS              28 to retrieve all unauthorized copies of the Protected Material, (3) inform the person or
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                    1 persons to whom unauthorized disclosures were made of all the terms of this
                    2 Stipulated Protective Order, and (4) request such person or persons to execute the
                    3 “Acknowledgment and Agreement to be Bound” (Exhibit A).
                    4 12.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                    5            PROTECTED MATERIAL
                    6            When a Producing Party gives notice to Receiving Parties that certain
                    7 inadvertently produced material is subject to a claim of privilege or other protection,
                    8 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                    9 Procedure 26(b)(5)(B). This provision is not intended to modify whatever
                   10 procedure may be established in an e-discovery order that provides for production
                   11 without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
                   12 (e), insofar as the parties reach an agreement on the effect of disclosure of a
                   13 communication or information covered by the attorney-client privilege or work
                   14 product protection, the parties may incorporate their agreement in the Stipulated
                   15 Protective Order submitted to the Court.
                   16            13.       MISCELLANEOUS
                   17            13.1. Right to Further Relief.
                   18            Nothing in this Stipulated Protective Order abridges the right of any person to
                   19 seek its modification by the Court in the future.
                   20            13.2. Right to Assert Other Objections.
                   21            By stipulating to the entry of this Stipulated Protective Order, no Party waives
                   22 any right it otherwise would have to object to disclosing or producing any
                   23 information or item on any ground not addressed in this Stipulated Protective Order.
                   24 Similarly, no Party waives any right to object on any ground to use in evidence of
                   25 any of the material covered by this Stipulated Protective Order.
                   26            13.3. Filing Protected Material.
                   27            A Party that seeks to file under seal any Protected Material must comply with

LEWIS              28 Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
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                    1 court order authorizing the sealing of the specific Protected Material at issue. If a
                    2 Party's request to file Protected Material under seal is denied by the Court, then the
                    3 Receiving Party may file the information in the public record unless otherwise
                    4 instructed by the Court.
                    5            14.       FINAL DISPOSITION
                    6            After the final disposition of this Action, within sixty (60) days of a written
                    7 request by the Designating Party, each Receiving Party must return all Protected
                    8 Material to the Producing Party or destroy such material. As used in this
                    9 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
                   10 summaries, and any other format reproducing or capturing any of the Protected
                   11 Material. Whether the Protected Material is returned or destroyed, the Receiving
                   12 Party must submit a written certification to the Producing Party (and, if not the same
                   13 person or entity, to the Designating Party) by the 60-day deadline that (1) identifies
                   14 (by category, where appropriate) all the Protected Material that was returned or
                   15 destroyed and (2) affirms that the Receiving Party has not retained any copies,
                   16 abstracts, compilations, summaries or any other format reproducing or capturing any
                   17 of the Protected Material. Notwithstanding this provision, Counsel is entitled to
                   18 retain an archival copy of all pleadings; motion papers; trial, deposition, and hearing
                   19 transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
                   20 reports; attorney work product; and consultant and expert work product, even if such
                   21 materials contain Protected Material. Any such archival copies that contain or
                   22 constitute Protected Material remain subject to this Stipulated Protective Order as
                   23 set forth in Section 5. In addition, as a regulated entity, AIG Property may retain for
                   24 an unlimited duration of time a copy of Protected Material that AIG Property
                   25 reasonably believes is required to be preserved to comply with applicable laws or
                   26 regulations.
                   27

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                    1 15.        VIOLATION
                    2            Any violation of this Stipulated Order may be punished by any and all
                    3 appropriate measures including, without limitation, contempt proceedings and/or
                    4 monetary sanctions.
                    5
                    6 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                    7
                    8 DATED: May 3, 2021                      MERLIN LAW GROUP
                    9
                                                              By:         /s/ Derek Chaiken
                   10                                               Derek Chaiken
                   11                                               Attorneys for Plaintiffs
                                                                    Antonio Gates and Sasha Gates
                   12
                   13
                   14 DATED: May 3, 2021                      LEWIS BRISBOIS BISGAARD & SMITH             LLP

                   15
                                                              By:         /s/ Stephen V. Kovarik
                   16                                               Rebecca R. Weinreich
                   17                                               Stephen V. Kovarik
                                                                    Attorneys for Defendant LEXINGTON
                   18                                               INSURANCE COMPANY
                   19
                   20
                   21 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                                         RED..
                   22
                   23 Dated:          05/04/21
                                                                         Maria A. Audero
                                                                                  Audero
                   24                                                    United States Magistrate Judge
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                   26
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                    1 Attestation Regarding Signatures:
                    2
                      Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Stephen V. Kovarik, attest that all
                    3 signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
                      content and have authorized the filing.
                    4
                    5 Dated: May 3, 2021                   /s/ Stephen V. Kovarik
                                                        Stephen V. Kovarik
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ATTORNEYS AT LAW                                    STIPULATED PROTECTIVE ORDER
              Case 2:21-cv-01480-VAP-MAA Document 10 Filed 05/04/21 Page 16 of 17 Page ID #:156




                    1                                          EXHIBIT A
                    2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                    3            I,                                [full name], of
                    4                          [address], declare under penalty of perjury that I have read in its
                    5 entirety and understand the Stipulated Protective Order that was issued by the
                    6 United States District Court for the Central District of California on
                    7 [date] in the case of
                    8 [case name and number]. I agree to comply with and to be bound by all the terms of
                    9 this Stipulated Protective Order, and I understand and acknowledge that failure to so
                   10 comply could expose me to sanctions and punishment in the nature of contempt. I
                   11 solemnly promise that I will not disclose in any manner any information or item that
                   12 is subject to this Stipulated Protective Order to any person or entity except in strict
                   13 compliance with the provisions of this Stipulated Protective Order.
                   14            I further agree to submit to the jurisdiction of the United States District Court
                   15 for the Central District of California for the purpose of enforcing the terms of this
                   16 Stipulated Protective Order, even if such enforcement proceedings occur after
                   17 termination of this action. I hereby appoint                                  [full name]
                   18 of                                                        [address and telephone number]
                   19 as my California agent for service of process in connection with this action or any
                   20 proceedings related to enforcement of this Stipulated Protective Order.
                   21
                   22 Signature:
                   23 Printed Name:
                   24 Date:
                   25 City and State Where Sworn and Signed:
                   26
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                    1                        FEDERAL COURT PROOF OF SERVICE
                    2 Case: Antonio Gates, et al. v. AIG Property Casualty Company, et al.
                            Case No. 2:21-cv-01480 VAP (MAAx)
                    3
                    4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    5        At the time of service, I was over 18 years of age and not a party to the action.
                      My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                    6 am employed in the office of a member of the bar of this Court at whose direction
                      the service was made.
                    7
                             On May 3, 2021, I served the following document(s): STIPULATED
                    8 PROTECTIVE ORDER
                    9         I served the documents on the following persons at the following addresses
                        (including fax numbers and e-mail addresses, if applicable):
                   10
                      Derek S. Chaiken, Esq.                  Attorneys for Plaintiffs
                   11 William F. Merlin, Esq.                 Antonio Gates and Sasha Gates
                      MERLIN LAW GROUP
                   12 2049 Century Park East, Suite 650
                      Los Angeles, CA 90067
                   13       Tel.: (818) 945-9800
                            Fax: (818) 945-9801
                   14       Email dchaiken@merlinlawgroup.com
                                   ylopez@merlinlawgroup.com
                   15
                   16            The documents were served by the following means:
                   17 :          (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I
                                 electronically filed the documents with the Clerk of the Court using the
                   18            CM/ECF system, which sent notification of that filing to the persons listed
                                 above.
                   19
                           I declare under penalty of perjury under the laws of the United States of
                   20 America and the State of California that the foregoing is true and correct.
                   21            Executed on May 3, 2021, at Los Angeles, California.
                   22
                   23                                                   /s/ Laura E. Martinez
                                                                             LAURA E. MARTINEZ
                   24
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                   26
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